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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA


                                CIVIL MINUTES - GENERAL
  Case No.      SACV 18-00093 AG (DFMx)                                 Date   June 4, 2018
  Title         ARTHUR LOPEZ v. IRVINE COMPANY LLC ET AL.




  Present: The Honorable       ANDREW J. GUILFORD
            Lisa Bredahl                             Not Present
            Deputy Clerk                      Court Reporter / Recorder               Tape No.
          Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:


  Proceedings:       [IN CHAMBERS] ORDER GRANTING MOTION TO DISMISS


 Plaintiff Arthur Lopez, representing himself, filed this lawsuit against Defendants Irvine
 Company LLC; The Irvine Company Apartment Communities, Inc.; Newport Bluffs LLC;
 and The Newport Bordeaux Apartments LLC. In his handwritten complaint, Lopez purports
 to assert claims for (1) violations of the Fair Housing Act, (2) violations of his rights under
 42 U.S.C. § 1983, and (3) unfair business practices. Lopez says that Defendants discriminated
 against him for a variety of reasons, including his race, familial status, and sex. Defendants
 move to dismiss Lopez’s complaint, or for a more definite statement.

 The Court GRANTS Defendants’ motion to dismiss without leave to amend. (Dkt. No. 16.)
 The only claim that survives this order is Lopez’s unfair business practices claim, since
 Defendants didn’t specifically address that claim in their motion.

 1. BACKGROUND

 For the purposes of this order only, the Court assumes the following facts taken from
 Lopez’s complaint are true. Although the complaint is somewhat difficult to follow, the
 Court has attempted to piece together this background.

 For three or four years, Lopez lived in an apartment complex apparently run by some
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 combination of Newport Bluffs LLC, Irvine Company LLC, and Irvine Company Apartment
 Communities, Inc. Lopez alleges that he encountered several issues while living at Newport
 Bluffs, though it’s unclear exactly who did what. The issues range from unjustified fee
 charges, discrimination on the terms of his lease, and various forms of harassment. Lopez
 says he complained to various people who worked for, managed, or owned Defendants, as
 well as to federal and state authorities.

 Lopez alleges that on May 5, 2015, he received a letter from Newport Bluffs saying his rent
 was overdue, even though he’d paid the rent three days earlier. Ultimately, Lopez alleges that
 Newport Bluffs sent him a notice on November 18, 2015, requiring him to vacate the
 apartment by January 18, 2016 (the end of his lease term). Lopez asserts that Defendants
 wouldn’t renew or extend his lease for discriminatory reasons. He apparently tried to apply to
 another apartment complex, run by Newport Bordeaux LLC, but wasn’t able to get a lease
 from that or any other property—again for allegedly discriminatory reasons. Lopez alleges
 that he was significantly injured by the inability to continue renting at any of
 Defendants’ properties.

 Lopez filed this case on January 18, 2018, exactly two years from the day his lease at
 Newport Bluffs ended.

 2. JUDICIAL NOTICE

 Defendants ask the Court to take judicial notice of several court dockets from cases
 involving Lopez in state and federal courts. Based on information revealed in those cases,
 Defendants try to show that Lopez didn’t have the financial means to pay his rent, and ask
 the Court to therefore conclude that they were reasonable in refusing to rent to Lopez. But
 this argument strikes on a factual dispute beyond the scope of a motion to dismiss.

 At this time, the Court declines to consider the court dockets and whatever financial
 information Lopez revealed in those cases.



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 3. STANDARD

 Federal Rule of Civil Procedure 8(a)(2) requires only “a short and plain statement of the
 claim showing that the pleader is entitled to relief.” With that liberal pleading standard, the
 purpose of a motion under Rule 12(b)(6) is “to test the formal sufficiency of the statement of
 the claim for relief.” 5B C. Wright & A. Miller, Federal Practice and Procedure § 1356, p. 354
 (3d ed. 2004). To survive a motion to dismiss, a complaint must contain sufficient factual
 material to “state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550
 U.S. 544, 570 (2007). A claim is facially plausible when “the plaintiff pleads factual content
 that allows the court to draw the reasonable inference that the defendant is liable for the
 misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

 In analyzing the complaint’s sufficiency, a court must “accept[] all factual allegations in the
 complaint as true and constru[e] them in the light most favorable to the nonmoving party.”
 Skilstaf, Inc. v. CVS Caremark Corp., 669 F.3d 1005, 1014 (9th Cir. 2012). But the assumption
 of truth doesn’t apply to legal conclusions. Iqbal, 556 U.S. at 678.

 4. ANALYSIS

 Although Lopez’s complaint purports to allege a claim for unfair business practices,
 Defendants’ motion to dismiss seems to ignore this, focusing only on Lopez’s 42 U.S.C.
 § 1983 and Fair Housing Act claims. Consequently, the Court similarly focuses only on
 42 U.S.C. § 1983 and the Fair Housing Act.

          4.1   Section 1983 Claims

 Defendants argue that they can’t be held liable under 42 U.S.C. § 1983 because they’re all
 private, rather than public, actors. Section 1983 provides the basis for a civil claim against any
 person who, “under color of any statute, ordinance, regulation, custom, or usage, of any State
 or Territory or the District of Columbia,” violates another’s constitutional rights. “The
 ultimate issue in determining whether a person is subject to suit under § 1983 is the same
 question posed in cases arising under the Fourteenth Amendment: is the alleged
 infringement of federal rights fairly attributable to the” government? Sutton v. Providence St.
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 Joseph Med. Cent., 192 F.3d 826, 835 (9th Cir. 1999) (quoting Rendell-Baker v. Kohn, 457 U.S.
 830, 838 (1982)). This is a two part inquiry. First, did the deprivation of constitutional rights
 “result from a governmental policy”? Id. Second, is the party to be charged with the
 deprivation “a person who may fairly be said to be a [governmental] actor”? Id. Courts
 presume “that private conduct does not constitute governmental action” and consider four
 factors or tests to determine whether private conduct is government action: “(1) public
 function, (2) joint action, (3) governmental compulsion or coercion, and (4) governmental
 nexus.” Id. at 835–36.

 Lopez seems to suggest that the private Defendants in this case are government actors who
 acted under government policy. He contends that “defendants . . . receive Federal H.U.D
 funding” and have “involvement and affiliations in City Governance.” (Opp’n, Dkt. No. 20
 at 1.) Further, he says that Defendants have a “monopoly” on the housing market in
 Newport Beach and own “enormous amounts of land and buildings which encompass full
 cities.” (Id. at 2.) And he argues that he filed complaints with state and federal authorities.
 Many of these allegations weren’t in Lopez’s complaint. None of these allegations or
 arguments are convincing reasons to conclude that Defendants are government actors or
 that they acted consistent with a government policy in renting to or allegedly discriminating
 against Lopez.

 Consequently, Lopez’s § 1983 claims must be dismissed.

          4.2   Fair Housing Act Claims

 Defendants argue that Lopez’s Fair Housing Act claims are barred by the relevant statute of
 limitations. Under the Fair Housing Act, a plaintiff may file a lawsuit “not later than 2 years
 after the occurrence or the termination of an alleged discriminatory housing practice . . .
 whichever occurs last.” 42 U.S.C. § 3613(a)(1)(A).

 Lopez filed this case on January 18, 2018, two years to the day after his lease term ended. But
 the Fair Housing Act’s statute of limitations clock runs from “the occurrence or the
 termination of an alleged discriminatory housing practice,” not from the end of a plaintiff’s
 lease. Newport Bluffs sent Lopez their termination letter in November 2015, outside the
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 two-year limitations period. Indeed, all of the purported Fair Housing Act violations that
 Lopez alleges—including Newport Bluffs LLC’s decision to terminate his lease and the other
 Defendants’ rejection of his housing applications—happened before January 18, 2016. While
 the effects of those allegedly discriminatory decisions might have extended into the two-year
 limitations period, a “continuing violation is occasioned by continual unlawful acts, not by
 continual ill effects from an original violation.” See Garcia v. Brockway, 526 F.3d 456, 462 (9th
 Cir. 2008) (internal quotation marks and citations omitted). At bottom, Lopez alleges no
 unlawful acts within the two-year statute of limitations period. And while he argues in
 passing that the Court should toll the limitations period, he provides no convincing reason to
 do so.

 Because his claims are barred by the relevant statute of limitations, dismissal of Lopez’s Fair
 Housing Act claim is appropriate.
 5. LEAVE TO AMEND
 If a court dismisses a complaint, “[l]eave to amend should be granted unless the district court
 ‘determines that the pleading could not possibly be cured by the allegation of other facts,’”
 Knappenberger v. City of Phoenix, 566 F.3d 936, 942 (9th Cir. 2009) (quoting Lopez v. Smith, 203
 F.3d 1122, 1127 (9th Cir. 2000) (en banc)), or “if the plaintiff had several opportunities to
 amend its complaint and repeatedly failed to cure deficiencies.” Telesaurus VPC, LLC v. Power,
 623 F.3d 998, 1003 (9th Cir. 2010) (citation omitted).
 Lopez’s § 1983 claims are incurably defective because Defendants simply aren’t state actors.
 Similarly, his Fair Housing Act claims are incurably defective since they’re barred by the
 statute of limitations. The Court therefore declines to give Lopez leave to amend.
 4. DISPOSITION
 The Court GRANTS Defendants’ motion to dismiss without leave to amend. (Dkt. No. 16.)
 The Court DISMISSES Lopez’s Fair Housing Act and 42 U.S.C. § 1983 claims without leave
 to amend them. Because Defendants haven’t included any argument directed at Lopez’s
 claim for unfair business practices, this order doesn’t affect that claim.

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 Further, while Defendants conclusorily ask for a more definite statement under Rule 12(e),
 they provide no specifics, so the Court DENIES that request. See Fed. R. Civ. P. 12(e)
 (requiring party seeking more definite statement to “point out the defects complained of and
 the details desired”).
 The Court also takes this opportunity to note that Lopez appears to be proceeding without
 the assistance of counsel, which means he’s proceeding “pro se”. The Court is mindful that
 people who appear pro se often have difficulty navigating the legal system. For that reason,
 documents filed pro se are to be “liberally construed” and held to “less stringent standards.”
 See Erickson v. Pardus, 551 U.S. 89, 94 (2007) (per curiam). Still, litigants without lawyers are
 “bound by the rules of procedure” applicable in federal court. See Ghazali v. Moran, 46 F.3d
 52, 54 (9th Cir. 1995). The Court takes this opportunity to encourage Lopez to take
 advantage of the resources available at the free “Federal Pro Se Clinic” at the Santa Ana
 federal courthouse. Visitors to the clinic must make an appointment by calling (714)
 541-1010 (x222). The clinic is located in Room 1055 of the Ronald Reagan Federal Building
 and United States Courthouse, 411 W. 4th Street, Santa Ana, CA. More information can be
 found at http://court.cacd.uscourts.gov/cacd/ProSe.nsf and selecting “Pro Se Clinic - Santa
 Ana.”



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